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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, Inc., et al.,1                                          Case No. 23-10852 (KBO)

                                            Debtors.                   (Jointly Administered)

                                                                       Ref. Docket No. 435

            AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
             HEARING ON AUGUST 15, 2023 AT 3:00 P.M. (EASTERN TIME)




      This hearing will be conducted in person. All parties, including witnesses, are expected to
       attend in person unless permitted to appear via Zoom. Participation at the in-person court
    proceeding using Zoom is allowed only in the following circumstances: (i) counsel for a party
    or a pro se litigant files a responsive pleading and intends to make only a limited argument; (ii)
        a party or a representative of a party is interested in observing the hearing; (iii) a party is
     proceeding in a claims allowance dispute on a pro se basis; (iv) an individual has a good faith
    health-related reason to participate remotely and has obtained permission from chambers to do
         so; or (v) other extenuating circumstances that warrant remote participation as may be
                                          determined by the Court.3




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
(2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.
2
  Amended items in BOLD.
3
  See Chambers Procedures of the Honorable Karen B. Owens dated October 3, 2022.
https://www.deb.uscourts.gov/content/judge-karen-b-owens.


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         If appearance via Zoom is permitted, please use the following link to register for
 this hearing to appear via Zoom. All individuals participating by video must register at
 least two (2) hours prior to the hearing. After registering your appearance by Zoom, you
 will receive a confirmation email containing information about joining the hearing.

  https://debuscourts.zoomgov.com/meeting/register/vJItfuuhqT8qEjqrQLvQS3iW41UxUkPnh
                                            U8

                  Topic: iMedia Brands, Inc., et al. – Case No. 23-10852 (KBO)
                  When: August 15, 2023 at 3:00 p.m. (Prevailing Eastern Time)

                  You must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.
                         CourtCall will NOT be used for this hearing.


RESOLVED MATTERS

1.      Huron Retention Application – Debtors’ Application for Entry of an Order (I)
        Authorizing the Employment and Retention of Huron Consulting Services LLC to Provide
        the Debtors a Chief Transformation Officer and Certain Additional Personnel and (II)
        Designating James Alt as Chief Transformation Officer of iMedia Brands, Inc., Effective
        as of the Petition Date [Filed: 7/24/23] (Docket No. 242).

        Response Deadline: August 8, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: Informal comments from U.S. Trustee.

        Related Documents:

        A. Supplemental Declaration in Support of Debtors' Application to Employ Huron
           Consulting Services [Filed: 8/10/23] (Docket No. 410).

        B. Certification of Counsel Regarding Debtors’ Application for Entry of an Order (I)
           Authorizing the Employment and Retention of Huron Consulting Services LLC to
           Provide the Debtors a Chief Transformation Officer and Certain Additional Personnel
           and (II) Designating James Alt as Chief Transformation Officer of iMedia Brands, Inc.,
           Effective as of the Petition Date [Filed: 8/10/23] (Docket No. 412).

        C. [Signed] Order (I) Authorizing the Employment and Retention of Huron Consulting
           Services LLC to Provide the Debtors a Chief Transformation Officer and Certain
           Additional Personnel and (II) Designating James Alt as Chief Transformation Officer
           of iMedia Brands, Inc., Effective as of the Petition Date [Filed: 8/10/23] (Docket No.
           423).

        Status: The Court has entered an order on this matter. No hearing is necessary.



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2.      PSZ&J Retention Application – Debtors’ Application Pursuant to Section 327(a) of the
        Bankruptcy Code, Bankruptcy Rule 2014, and Local Rule 2014-1 for Authorization to
        Employ and Retain Pachulski Stang Ziehl & Jones LLP as Co-Counsel for the Debtors and
        Debtors in Possession Effective as of the Petition Date [Filed: 7/24/23] (Docket No. 245).

        Response Deadline: August 8, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: Informal comments from U.S. Trustee.

        Related Documents:

        A. Supplemental Declaration in Support of Debtors' Application to Retain Pachulski Stang
           Ziehl & Jones as Co-Counsel [Filed 8/9/23] (Docket No. 388).

        B. Certification of Counsel Regarding Debtors’ Application Pursuant to Section 327(a) of
           the Bankruptcy Code, Bankruptcy Rule 2014, and Local Rule 2014-1 for Authorization
           to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Co-Counsel for the
           Debtors and Debtors in Possession Effective as of the Petition Date [Filed: 8/104/23]
           (Docket No. 411).

        C. [Signed] Order Authorizing the Employment and Retention of Pachulski Stang Ziehl
           & Jones LLP as Co-Counsel for the Debtors and Debtors in Possession Effective as of
           the Petition Date [Filed 8/10/23] (Docket No. 422).

        Status: The Court has entered an order on this matter. No hearing is necessary.

3.      Ropes & Gray Retention Application – Debtors’ Application for Entry of an Order
        Authorizing the Retention and Employment of Ropes & Gray LLP as Attorneys for the
        Debtors Effective as of the Petition Date [Filed: 7/24/23] (Docket No. 249).

        Response Deadline: August 8, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: Informal comments from U.S. Trustee.

        Related Documents:

        A. Supplemental Declaration in Support of Application to Retain Ropes & Gray as
           Debtors' Co-Counsel [Filed 8/9/2023] (Docket No. 387).

        B. Certification of Counsel Regarding Debtors' Application to Retain Ropes & Gray as
           Co-Counsel [Filed: 8/9/23] (Docket No. 389).

        C. [Signed] Order Authorizing the Retention and Employment of Ropes & Gray LLP as
           Attorneys for the Debtors Effective as of the Petition Date [Filed 8/10/23] (Docket No.
           421).

        Status: The Court has entered an order on this matter. No hearing is necessary.




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MATTERS UNDER COC/CNO

4.      Interim Compensation Motion – Debtors’ Motion for Entry of an Order (I) Establishing
        Procedures for Interim Compensation and Reimbursement of Expenses for Retained
        Professionals and (II) Granting Related Relief [Filed: 7/24/23] (Docket No. 246).

        Response Deadline: August 8, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: None as of the date hereof.

        Related Documents:

        A. Certificate of No Objection [Filed: 8/10/23] (Docket No. 418).

        B. [Signed] Order (I) Establishing Procedures for Interim Compensation and
           Reimbursement of Expenses for Retained Professionals and (II) Granting Related
           Relief [Filed: 8/11/23] (Docket No. 436].

        Status: The Court has entered an order on this matter. No hearing is necessary.

5.      Motion to Extend Time to File Schedules and SOFAS – Debtors’ Motion for Entry of
        an Order (I) Extending Time to File Schedules of Assets and Liabilities and Statements of
        Financial Affairs and (II) Granting Related Relief [Filed: 7/24/23] (Docket No. 247).

        Response Deadline: August 8, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: None as of the date hereof.

        Related Documents:

        A. Certificate of No Objection [Filed: 8/10/23] (Docket No. 419).

        B. [Signed] Order (I) Extending Time to File Schedules of Assets and Liabilities and
           Statements of Financial Affairs and (II) Granting Related Relief [Filed 8/11/23]
           (Docket No. 437].

        Status: The Court has entered an order on this matter. No hearing is necessary.

6.      Stretto Retention Application – Debtors’ Application for Entry of an Order Appointing
        Stretto, Inc. as Administrative Agent for the Debtors Effective as of the Petition Date
        [Filed: 7/24/23] (Docket No. 240).

        Response Deadline: August 8, 2023 at 4:00 p.m. (Eastern Time).

        Responses Received: None as of the date hereof.

        Related Documents:




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        a. Notice of Filing of Corrected Exhibit C to Debtors’ Application for Entry of an Order
           Appointing Stretto, Inc. as Administrative Agent for the Debtors Effective as of the
           Petition Date [Filed: 7/24/23] (Docket No. 248).

        b. Certificate of No Objection [Filed: 8/11/23] (Docket No. 434).

        c.   [Signed] Order Appointing Stretto, Inc. as Administrative Agent for the Debtors
             Effective as of the Petition Date [Filed 8/11/23] (Docket No. 440]

        Status: The Court has entered an order on this matter. No hearing is necessary.

MATTERS GOING FORWARD

7.      Lincoln Retention Application – Debtors’ Application for Entry of an Order (A)
        Authorizing the Retention and Employment of Lincoln Partners Advisors LLC as
        Investment Banker for the Debtors and Debtors in Possession, Pursuant to 11 U.S.C. §§
        327(a) and 328, Nunc Pro Tunc to the Petition Date, (B) Waiving Certain Requirements
        Imposed By Local Rule 2016-2, and (C) Granting Related Relief [Filed: 7/24/23] (Docket
        No. 241).

        Response Deadline: August 8, 2023 at 4:00 p.m. (Eastern Time), extended to August 11,
        2023 at 12:00 p.m. for the Official Committee of Unsecured Creditors.

        Responses Received: Informal comments from U.S. Trustee.

        a. Limited Objection Of The Official Committee Of Unsecured Creditors To
           Debtors Application For Entry Of An Order (A) Authorizing The Retention And
           Employment Of Lincoln Partners Advisors LLC As Investment Banker For The
           Debtors And Debtors In Possession, Pursuant To 11 U.S.C. §§ 327(A) And 328,
           Nunc Pro Tunc To The Petition Date, (B) Waiving Certain Requirements Imposed
           By Local Rule 2016-2, And (C) Granting Related Relief [Filed 8/11/23] (Docket
           No. 443).

        Related Documents:

        a. Supplemental Declaration of Eugene Lee in Support of the Debtors’ Application
           for Entry of an Order (A) Authorizing the Retention and Employment of Lincoln
           Partners Advisors LLC as Investment Banker for the Debtors and Debtors in
           Possession, Pursuant to 11 U.S.C. §§ 327(a) and 328, Nunc Pro Tunc to the Petition
           Date, (B) Waiving Certain Requirements Imposed By Local Rule 2016-2, and (C)
           Granting Related Relief [Filed: 8/13/23] (Docket No. 444).

        Status: This matter will go forward.




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Dated: August 15, 2023              PACHULSKI STANG ZIEHL & JONES LLP
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                                    Counsel to the Debtors and Debtors in Possession




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